
PER CURIAM:
This claim was submitted to the Court for decision upon a Stipulation entered into by Claimant and Respondent wherein certain facts and circumstances of the claim were agreed to as follows:
1. Respondent is responsible for the maintenance of the Cram 4 Lane, which is a four lane by-pass road located in or near Crum, Wayne County, West Virginia.
2. Linda K. Marcum is the mother of Stephanie Marcum, the administrator of Stephanie Marcum’s estate and the sole heir and beneficiary of any settlement paid in this claim.
3. On or around April 27,2006, Stephanie Marcum was operating her motor vehicle on the Cram 4 Lane when she was unexpectedly confronted by a very sharp curve which resulted in her vehicle striking a low lying rock cliff located just off the roadway.
4. Stephanie Marcum was killed as a result of the accident.
5. The sharp curve where Stephanie Marcum’s accident occurred is approximately ninety degrees (90°).
6. The low lying rock cliff that Stephanie Marcum’s vehicle struck is located immediately off the road at the point where a vehicle is coming out of the curve.
7. Although the West Virginia Uniform Traffic Crash Report for Stephanie Marcum’s accident makes a reference to open containers of alcohol being in Stephanie Marcum’s vehicle, the laboratory/toxicology report for Stephanie Marcum was negative for both alcohol and drags.
8. The death certificate for Stephanie Marcum lists the cause of death as blunt force trauma as a result of her vehicle striking the rock cliff.
9. Claimant alleges that Respondent was negligent in its maintenance, marking and signing of the portion of the Cram 4 Lane where Stephanie Marcum’s accident occurred.
10. Under the specific facts and circumstances of this claim and for purposes of settlement of said claim, Respondent acknowledges responsibility for the accident involving Stephanie Marcum.
11. Both the Claimant and Respondent agree that in this particular incident and under these particular circumstances that an award of Nine Hundred Fifty Thousand Dollars ($950,000.00) would be a fair and reasonable amount to settle this claim.
12. In agreeing to settle this claim for Nine Hundred Fifty Thousand Dollars ($950,000.00), Respondent has factored into its agreement to settle the claim the issue of whether or not Ms. Marcum was wearing a seatbelt at the time of the accident.
13. The parties to this claim agree that the total sum of Nine Hundred Fifty Thousand Dollars ($950,000.00) to be paid by Respondent to the Claimant in Claim No. CC-08-0192 will be a full and complete settlement, compromise and resolution of all matters in controversy in said claim and full and complete satisfaction of any and all past and future claims Claimant may have against Respondent arising from the matters described in said claim.
The Court has reviewed the facts of the claim and finds that Respondent was negligent in its maintenance, marking, and signing of the portion of Crum 4 Lane in *166or near Crum, Wayne County, where Stephanie Marcum’s accident occurred; that the negligence of Respondent was the proximate cause of the accident leading to Stephanie Marcum’s death; and that the amount of the damages agreed to by the parties is fair and reasonable. Thus, Claimant may make a recovery in this claim.
It is the opinion of the Court of Claims that the Claimant should be awarded the sum of Nine Hundred Fifty Thousand Dollars ($950,000.00) in this claim.
Award of $950,000.00.
